Case 9:OO-cr-08076-DI\/|I\/| Document 8 Entered on FLSD Docket 06/21/2000 Page 1 of 1

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UNITED STATES DISTRICT COURT EY

Sou'ruemx nIs‘rRIc'r oF FLORIDA ' g __

UNITED STAIES OF AMERICA CASE # (>' F“nl _

VS.

'\<0"@_? \330\.04 PRISONER §

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REPORT coMMENcING cRI'M.;NAL:_;AcTI'oN

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TO CLERK'S OFFICE, UNITED STATES DISTRICT COURT: (CIRCLE ONE)

MIAMI FT. LAUDERDALE <;§§ST PALM BEACH > FT. PIERCE

(CIRCLE APPROPRIATE LOCATION FOR APPEARANCE IN MAGISTRATE COURT)

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ALL ITEMS ARE TO BE COMPLETED. INFORMATION NOT APPLICABLE OR
UNKNOWN TO BE INDICATED BY "N/A" -

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DATE AND TIME OF ARREST`: 'OG \‘¢\"O'C_; ‘~\'-Ll$ FM
LANGLJAGE(S) SPOI<EN= " boa>LLM`\

OFFENSE(S)` CHARGED: '>~.ond

u. S. <:ITIZEN {»L] YES [ 1 Nc) [ 1 uNr<NOwN
DATE: OF BIRTH: O§-QG'°'|"(

TYPE OF CHAR<;ING DOCUMENT: (CHEC)< ONE)

[ °g] INDICTMENT [ ] COMPLAINT TO BE: FlLED/ALREADY FILED
[ 1 BENCH wARRANT FOR FAILURE To APPEAR

[ j PROBATION vIOLATION wARRANT

[ ] PAROLE vIOLATION wARRANT

cASE §

oRIGINM‘ING DISTRICT: §:.M@§ug_o@£_oum_ _---_

COPY OF WARRANT LEFT WITH BOOKING OFFICN’[ il YhS [ | NO

 

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